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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1880V
                                          UNPUBLISHED


    DOROTHY SELL,                                               Chief Special Master Corcoran

                         Petitioner,                            Filed: February 27, 2023
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.

Nancy Tinch, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

       On December 16, 2020, Dorothy Sell filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”), a defined Table injury, resulting from the influenza (“flu”)
vaccine she received on December 6, 2019. Petition at ¶¶ 1-3; Stipulation, filed at Feb.
27, 2023, ¶¶ 1-2, 4. On September 23, 2021, Petitioner filed an amended petition alleging
the same. Amended Petition at 1, ¶ 2. Petitioner further alleges that she received the
vaccine within the United States, that she suffered the residual effects of her injury for
more than six-months, and that neither she nor any other person has filed a civil action
or received compensation for her injury, alleged to be vaccine caused. Amended Petition

1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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at ¶¶ 11-13; Stipulation at ¶¶ 3-5. “Respondent denies that [P]etitioner sustained a SIRVA
Table injury; denies that the flu vaccine caused [P]etitioner’s alleged SIRVA, or any other
injury; and denies that [P]etitioner’s current condition is a sequelae of a vaccine-related
injury.” Stipulation at ¶ 6.

       Nevertheless, on February 27, 2023, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $30,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                IN TIIE UNITED STATES COURT OF FEDERAL CLAIMS
                               OFFICE OF SPECIAL MASTERS


 DOROTHY SELL,

                        Petitioner,

 v.                                                     No. 20-1880
                                                        Chief Special Master Corcoran
 SECRETARY OF HEALTH AND                                ECF
 HUMAN SERVICES,

                        Respondent.


                                         STIPULATION

       The parties hereby stipulate to the following matters:

        1.      Dorothy Sell ("petitioner") filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of an influenza {"flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the

"Table"), 42 C.F.R. § 100.3 (a).

       2.       Petitioner received a flu vaccination on December 6, 2019.

        3.     The flu vaccine was administered within the United States.

       4.      Petitioner alleges that she sustained a Table shoulder injury related to vaccine

administration ("SIRVA'') within the time period set forth in the Table following administration

of the vaccine. Petitioner further alleges that she experienced the residual effects of this

condition for more than six months.

        5.     Petitioner represents that there has been no prior award or settlement of a civil

action for damages on her behalf as a result of her condition.
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        6.       Respondent denies that petitioner sustained a SIRVA Table injury; denies that the

flu vaccine caused petitioner's alleged SIRVA, or any other injury; and denies that petitioner's

current condition is a sequelae of a vaccine-related injury.

        7.       Maintaining their above-stated positions, the parties nevertheless now agree that

the issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8.       As soon as practicable after an entry ofjudgment reflecting a decision consistent

with the tenns of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U.S.C. § 300aa-2l(a)(I), the Secretary of Health and Human

Services will issue the following vaccine compensation payment:

                 A lump sum of $30,000.00, in the form of a check payable to petitioner.

This amount represents compensation for all damages that would be available under 42 U.S.C.

§ 300aa-15(a).


       9.        As soon as practicable after the entry ofjudgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-2l(a)(l), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

        10.      Petitioner and her attorney represent that compensation to be provided pursuant to

this StipuJation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa- l S(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or




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State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

        11 .    Payments made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12.     The parties and their attorneys further agree and stipulate that, except for any

'award for attorneys' fees, and litigation costs, and past unreimbursable expenses, the money

provided pursuant to this Stipulation will be used solely for the benefit of petitioner as

contemplated by a strict construction of 42 U.S.C. § 300aa-l 5(a) and (d), and subject to the

conditions of 42 U.S.C. § 300aa-l 5(g) and (h).

        13.     In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Coun of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq .• on account of, or in any way growing out of. any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, flu vaccination administered on December 6, 2019, as

alleged by petitioner in a petition for vaccine compensation filed on or about December 16,

2020, in the United States Court of Federal Claims as petition No. 20-1880¥.




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        14.     If petitioner should die prior to entry ofjudgment, this agreement shall be

voidable upon proper notice to the Court on behalf of either or both of the parties.

        15.     If the special master fails to issue a decision in complete confonnity with the

terms of this Stipulation or if the Court of Federal Claims fails to enter judgment in confonnity

with a decision that is in complete confonnity with the tenns of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16.     This Stipulation expresses a full and complete negotiated settlement of liability

and damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended,

except as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of

the parties hereto to make any payment or to do any act or thing other than is herein expressly

stated and clearly agreed to. The parties further agree and understand that the award described in

this Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17.     This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged SIRVA

·or any other injury or petitioner's current condition, or that petitioner suffered an injury

contained in the Vaccine Injury Table.

        18.     All rights and obligations of petitioner hereunder shall apply equally to

petitioner's heirs, executors, administrators, successors, and/or assigns.

                                      END OF STIPULATION




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                                                       Benjamin Franklin Station
                                                       Washington, DC 200#-0146

  AUTHORIZED REPRESENTATIVE                            ATIORN.t\' OP RECORD FOR
  01,"TBE SICRSTARY OF HEALTH                          RESPONDENT:
  AND HUMAN SERVICES:
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                                                       Nancy,Tinch@usdQj.&Q.Y

  Dated:
